                 Case 2:13-cr-00227-DAD Document 53 Filed 09/27/13 Page 1 of 3


 1 BENJAMIN B. WAGNER
   United States Attorney
 2 TODD A. PICKLES
   Assistant United States Attorney
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2700
   Facsimile: (916) 554-2900
 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8                                IN THE UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                            CASE NO. 2:13-CR-00227 GEB

12                                  Plaintiff,            STIPULATION REGARDING EXCLUDABLE
                                                          TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                           v.                           [PROPOSED] FINDINGS AND ORDER

14   JOSE ENRIQUE VELARDES ZAZEUTA, et
     al.,
15
                                    Defendants.
16

17

18                                                STIPULATION

19          Plaintiff United States of America, by and through its counsel of record, and defendants Jose

20 Enrique Velardes Zazueta, Francisco Parra Arrellanez, Jovany Romo Arrellanes, Yu Nung Chen, and

21 Efrain Padilla Pena, by and through their counsel of record, hereby stipulate as follows:

22          1.       By previous order, this matter was set for status on September 27, 2013.

23          2.       By this stipulation, defendant now moves to continue the status conference until

24 November 15, 2013 and to exclude time between September 27, 2013 and November 15, 2013 under

25 Local Code T4. The United States does not oppose this request.

26          3.       The parties agree and stipulate, and request that the Court find the following:

27                   a)     The government has represented that the discovery associated with this case

28 includes investigative reports previously produced to defendants numbering approximately 80 pages.

      Stipulation and Proposed Order re                   1
      Excludable Time
30
                 Case 2:13-cr-00227-DAD Document 53 Filed 09/27/13 Page 2 of 3


 1 Further, the United States anticipates that wiretaps and supporting applications for authorization for

 2 wiretaps will be made available to defendants within the next week.

 3                   b)     Counsel for defendants desire additional time to consult with their client, to

 4 conduct investigation and research related to the charges, to review and copy discovery for this matter,

 5 and to discuss potential resolutions with their clients.

 6                   c)     Counsel for defendants believe that failure to grant the above-requested

 7 continuance would deny them the reasonable time necessary for effective preparation, taking into

 8 account the exercise of due diligence.

 9                   d)     The United States does not object to the continuance.

10                   e)     Based on the above-stated findings, the ends of justice served by continuing the

11 case as requested outweigh the interest of the public and the defendants in a trial within the original date

12 prescribed by the Speedy Trial Act.

13                   f)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

14 et seq., within which trial must commence, the time period of September 27, 2013 to November 15,

15 2013, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]

16 because it results from a continuance granted by the Court at defendant’s request on the basis of the

17 Court's finding that the ends of justice served by taking such action outweigh the best interest of the

18 public and the defendant in a speedy trial.

19          4.       Nothing in this stipulation and order shall preclude a finding that other provisions of the

20 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

21 must commence.

22

23

24

25

26

27

28

      Stipulation and Proposed Order re                    2
      Excludable Time
30
             Case 2:13-cr-00227-DAD Document 53 Filed 09/27/13 Page 3 of 3


 1         IT IS SO STIPULATED.

 2 Dated: September 23, 2013                     BENJAMIN B. WAGNER
                                                 United States Attorney
 3
                                                 /s/ Todd A. Pickles
 4                                               TODD A. PICKLES
                                                 Assistant United States Attorney
 5

 6 Dated: September 25, 2013                     /s/ Todd A. Pickles for
                                                 VICTOR SHERMAN, ESQ.
 7
                                                 Counsel for Defendant Jose Enrique
 8                                               Velardes Zazueta

 9
     Dated: September 25, 2013                   /s/ Todd A. Pickles for
10                                               TIMOTHY WARRINER, ESQ.

11                                               Counsel for Defendant Francisco Parra
                                                 Arrellanez
12

13 Dated: September 25, 2013                     /s/ Todd A. Pickles for
                                                 DINA SANTOS, ESQ.
14
                                                 Counsel for Defendant Jovany Romo
15                                               Arrellanes

16
     Dated: September 25, 2013                   /s/ Todd A. Pickles for
17                                               RICKY POON, ESQ.

18                                               Counsel for Defendant Yu Nung Chen

19
     Dated: September 25, 2013                   /s/ Todd A. Pickles for
20                                               RICHARD DUDEK, ESQ.

21                                               Counsel for Defendant Efrain Padilla
                                                 Pena
22

23
           IT IS SO FOUND AND ORDERED .
24
           Dated: September 26, 2013
25

26

27

28

      Stipulation and Proposed Order re      3
      Excludable Time
30
